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UNITED STATES DISTRICT COURT F OR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-24463-CIV-MORENO

THOMAS G. NEUSOM,

Appellant,

VS.

BRIAN HOLLAND and ANDREA
HOLLAND,

Appellees.
/

ORDER DENYING ATTORNEY THOMAS NEUSOM'S EMERGENCY MOTION FOR
STAY DURING PENDENCY OF THE APPEAL TO THE BANKRUPTCY APPELLATE
PANEL

THIS CAUSE came before the Court upon Attorney Thomas Neusom's Emergency

Motion for Stay During Pendency of the Appeal to the Bankruptcy Appellate Panel (D.E. 6),

filed on November 14, 2018.

THE COURT has considered the motion, the response in opposition, pertinent portions of
the record, and being otherwise fully advised in the premises, it is

ADJUDGED that the motion is DENIED.

DP
DONE AND ORDERED in Chambers at Miami, Florida, this of November

2018. ZF

FEDERI@O A. MORENO
UNITED STATES DISTRICT JUDGE

Copies furnished to:

Counsel of Record

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